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      Maitchoukow, Individually and on behalf of all others
    6 similarly situated

    7

    8                       UNITED STATES DISTRICT COURT
    9                      CENTRAL DISTRICT OF CALIFORNIA
   10

   11 JONATHAN BROMBERG,                         Case No.: 2:15-CV-7930
      individually and on behalf of all others
   12 similarly situated,                        Case No.: 2:16-CV-7632
   13        Plaintiff,
   14               vs.                          SATISFACTION OF JUDGMENT
   15 FIDELITY NATIONAL
      INFORMATION SERVICES, INC., et
   16 al.,

   17       Defendants.
      ALEXIS MAITCHOUKOW,
   18 individually and on behalf of all others
      similarly situated
   19
             Plaintiff,
   20
                    vs.
   21
        FIDELITY NATIONAL
   22   INFORMATION SERVICES, INC., et
        al.,
   23
             Defendants.
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                                     SATISFACTION OF JUDGMENT
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    1         WHEREAS, on February 27, 2019, the Court issued an Order Granting Final
    2   Approval of the Sealed Confidential Settlement Agreement (“SCSA”) entered into in
    3   order to effectuate the final and complete resolution of this matter, which order
    4   directed the parties to the SCSA to do the following:
    5                1) Deposit the Settlement Funds with Simpluris;
    6                2) Mail all required payments as reflected in Simpluris’ true-up
    7                   calculations, along with the communication approved by the Court;
    8         WHEREAS, the above steps have been completed.
    9         WHEREAS, the Court’s Order of February 27, 2019, stated that once the above
   10   steps were completed and a Notice of Satisfaction of Judgement was filed “all
   11   obligations and liabilities arising out of or relating to this matter are discharged [and]
   12   [t]he settlement, release and judgment previously approved on July 7, 2017 remains
   13   final and binding.”
   14         THEREFORE, as all of the steps ordered by the Court have been completed,
   15   Plaintiff by and through his counsel of record, acknowledges satisfaction of the
   16   settlement and judgment and desires to release this judgment and hereby fully and
   17   completely satisfy the same.
   18         By reason of the satisfaction of the judgment as acknowledgment herein, the
   19   Clerk of the Court is authorized and requested to make an entry of the full and
   20   complete satisfaction of the above-referenced judgment on the docket.
   21

   22   DATED: August 9, 2019                   GARTENBERG GELFAND HAYTON LLP
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   24
                                                By: /s/ Aaron C. Gundzik
   25                                               Aaron C. Gundzik
   26
                                                Attorneys for Plaintiffs Jonathan Bromberg
   27                                           and Alexis Maitchoukow, individually and on
                                                behalf of all others similarly situated
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                                        SATISFACTION OF JUDGMENT
